                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NORTHEASTERN DIVISION


DAVID CHERRY, Personal Representative )
of the ESTATE OF PAMELA CHERRY, )
DECEASED,                             )
                                      )
             Plaintiff,               )
                                      )
vs.                                   )              CASE NO. 2:12-cv-00043
                                      )
MACON HOSPITAL, INC. d/b/a MACON )
COUNTY GENERAL HOSPITAL,              )
HANNA C. ILIA, M.D., JAMES            )
BARLOW, JIMMY PHILPOTT, CELINA )
FIRE DEPARTMENT EMS, and CLAY         )
COUNTY E911 BOARD                     )
                                      )
             Defendants.              )

                          PLAINTIFF’S AMENDED COMPLAINT

       Comes now the Plaintiff, David Cherry, Personal Representative of the Estate of Pamela

Cherry, deceased, by and through his attorneys, D. Bruce Kehoe and Joe Bednarz, Sr., and sues

the Defendants, Macon Hospital, Inc. d/b/a Macon County General Hospital, Hanna C. Ilia,

M.D., James Barlow, Jimmy Philpott, Celina Fire Department EMS, and Clay County E911

Board for medical malpractice and wrongful death pursuant to T.C.A. §29-26-121 and §29-26-

122.

                                            PARTIES

       1.      This cause of action is brought based upon diversity of citizenship as cited in §28

U.S.C.A. 1332, and the matter in controversy exceeds the sum of Seventy-Five Thousand Dollars

($75,000.00), exclusive of interest and costs.




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       2.      Plaintiff, David Cherry, is a resident of Indianapolis, County of Marion, State of

Indiana, and is a citizen thereof, having resided for many years at 1152 Fletcher Avenue,

Indianapolis, Indiana, 46203.

       3.      Plaintiff, David Cherry, was appointed as the Personal Representative of the

Estate of Pamela Cherry on July 6, 2011, under Cause No. 49D08-1107-ES02-5939, in Marion

County Superior Court, Probate Division.

       4.      At the time of her death, the decedent, Pamela Cherry, was a resident of

Indianapolis, County of Marion, State of Indiana, and a citizen thereof and resided at 1152

Fletcher Avenue, Indianapolis, Indiana, 46203. She is survived by her husband, David Cherry

and minor daughter, Stevie Nikole Cherry.

       5.      The Defendant, Hanna C. Ilia, M.D., is a citizen of the State of Tennessee, who

currently and at all times complained of herein was and is licensed to practice medicine in the

State of Tennessee, with his principle place of business at the Family Medical Center, PLLC, 207

West Locust Street, Lafayette, Tennessee, 37083.

       6.      The Defendant Macon Hospital, Inc. d/b/a Macon County General Hospital is a

hospital organized and existing under the laws of the State of Tennessee, which currently and at

all times complained of herein provided medical services in the State of Tennessee with its

principal place of business at 204 Medical Drive, Lafayette, Tennessee, 37083, and a citizen of

Tennessee.

       7.      The Defendant, James Barlow, is a citizen of the State of Tennessee, who

currently and at all times complained of herein was and is licensed as a paramedic in the State of

Tennessee, who currently and at all times complained of herein provided medical services in the




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State of Tennessee with his principal place of business at 211 Green Street, Celina, Tennessee

38551.

         8.    The Defendant, Jimmy Philpott, is a citizen of the State of Tennessee, who

currently and all times complain of herein was and is licensed as an emergency medical

technician, in the State of Tennessee, who currently and at all times complained of herein

provided medical services in the State of Tennessee with his principal place of business at 211

Green Street, Celina, TN 38551.

         9.    The Defendant, Celina Fire Department EMS, is an emergency medical services

provider, which currently and at all times complained of herein provided medical services in the

State of Tennessee with its principal place of business at 211 Green Street, Celina, Tennessee

38551, and a citizen of Tennessee. Upon information and belief, the Celina Fire Department

EMS was at all times pertinent to this action, operated by the City of Celina, pursuant to an

agreement with Clay County.

         10.   The Defendant, Clay County E911 Board, is an emergency medical services

provider, which currently and at all times complained of herein provided medical services in the

State of Tennessee with its principal place of business at 400 W Lake Avenue, Celina, Tennessee

38551, and a citizen of Tennessee. Upon information and belief, the Clay County E911 Board is

operated by employees of Clay County.

         11.   This is an action under the Tennessee Governmental Tort Liability Act (GTLA)

Tenn. Code Ann. §29-20-101, et. seq. Under said act, both the City of Celina, Tennessee and

Clay County, Tennessee are liable for the negligent acts or omissions of employees under the

GTLA and the doctrine of respondeat superior and other agency relationships.




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       12.     The Plaintiff hereby avers that, through undersigned counsel, he has complied

with the provisions of Tenn. Code Ann. §29-26-121(a) by having mailed on March 13, 2012, by

certified mail, return receipt requested, a Notice of Claim to the Defendant, Hanna C. Ilia, M.D.,

at the address listed for the Defendant on the Tennessee Department of Health website, 207 West

Locust Street, Lafayette, Tennessee, 37083. (Affidavit of Sherrie E. Frydell attached hereto as

Exhibit A and incorporated by reference pursuant to T.R.C.P. 10 (c). As Exhibit A confirms, a

legally sufficient Notice of Claim was sent by certified mail, return receipt requested, to the

Defendant Hanna C. Ilia, M.D. on March 13, 2012. (Exhibits 1 and 2 to Exhibit A). The Notice

of Claim included HIPPA complaint authorizations permitting the Defendant Hanna C. Ilia,

M.D. to obtain the relevant medical records of the claimant, decedent Pamela Cherry, from

Macon County General Hospital. (Exhibit 3 to Exhibit A). The Notice of Claim, and all

attachments thereto, were delivered by the U.S. Postal Service on or about March 15, 2012.

(Exhibit 4 to Exhibit A). Accordingly, the Plaintiff avers that the requirements of Tenn. Code

Ann. §29-26-121 (a) have been satisfied as to the Defendant Hanna C. Ilia, M.D.

       13.     The Plaintiff further avers that, through undersigned counsel, he has complied

with the provisions of Tenn. Code Ann. §29-26-121(a) by having mailed on March 13, 2012, by

certified mail, return receipt, a Notice of Claim to the Defendant Macon Hospital, Inc. d/b/a

Macon County General Hospital, at the addresses listed for the Defendant on the Tennessee

Department of Health website and the Tennessee Secretary of State at: 204 Medical Drive,

Lafayette, Tennessee, 37083, c/o Charles Darnell, Registered Agent and Dennis A. Wolford,

F.A.C.H.E., Administrator. (Affidavit of Sherrie E. Frydell, attached hereto as Exhibit B and

incorporated by reference pursuant to T.R.C.P. 10 (c)). Exhibit B confirms that a legally

sufficient Notice of Claim was sent by certified mail, return receipt requested, to the Defendant



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Macon Hospital, Inc. d/b/a Macon County General Hospital on March 13, 2012. (Exhibits 1 and

2 to Exhibit B). The Notice of Claim included HIPPA compliant authorizations permitting the

Defendant Macon Hospital, Inc. d/b/a Macon County General Hospital to obtain the relevant

medical records of the claimant, decedent Pamela Cherry, from Hanna C. Ilia, M.D. (Exhibit 3 to

Exhibit B). The Notice of Claim, and all the attachments thereto, were delivered by the U. S.

Postal Service on March 15, 2012. (Exhibit 4) As is confirmed by Exhibit B, and the exhibits

thereto, the Plaintiff avers that the requirements of Tenn. Code Ann. §29-26-121(a) have been

satisfied as to the Defendant Macon Hospital, Inc. d/b/a Macon County General Hospital.

                                    CERTIFICATE OF GOOD FAITH

       14.     The Plaintiff avers that, in accordance with the provisions of Tenn. Code Ann.

§29-26-122, Plaintiff’s counsel has consulted with one (1) or more medical experts who have

provided signed written statements confirming that, upon information and belief, in conformity

with the provisions of Tenn. Code Ann. §29-26-115, they are qualified and competent to express

expert opinions in this case and that there is a good faith basis to maintain the instant action

against the Defendants. Attached as Exhibit C is the Plaintiff’s Certificate of Good Faith in a

Medical Malpractice Case.

                                       FACTUAL BACKGROUND

       15.     While on vacation in Tennessee, claimant, Pamela Cherry began experiencing

chest and jaw pains. She was taken to the Macon County General Hospital in Lafayette,

Tennessee, and treated by their agents and employees. She was seen in the emergency room by

Dr. Hanna Ilia.    In the emergency room, her blood was drawn and two EKG tests were

performed. Pamela Cherry was dismissed from the emergency room still with chest and jaw pain

with a tentative diagnosis of acid reflux.



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       16.      The next morning, while making coffee, Pamela Cherry collapsed and was rushed

back to the hospital. Pamela Cherry’s stepmother, Georgia Cherry, called the Clay County E911

Board seeking emergency services. During the call, a dispatcher, acting in the course and scope

of his employment with the Clay County E911 Board, asked Georgia Cherry for Pamela

Cherry’s age and gender, and if she knew what was wrong with Pamela. The dispatcher then

hung up the phone and dispatched an ambulance after six minutes.

       17.      Celina Fire Department EMS, through its employees James Barlow and Jimmy

Philpott, was dispatched to provide emergency medical services to Pamela Cherry. Upon arrival,

James Barlow and Jimmy Philpott did not immediately provide CPR, utilize a cardiac monitor,

or begin any other emergency treatment. Pamela Cherry was subsequently taken to Macon

County General Hospital. From the hospital she was flown to Vanderbilt University, where she

died from a myocardial infarction on June 1, 2011.

                  ALLEGATIONS OF NEGLIGENCE - HANNA C. ILIA, M.D.

       18.      The Defendant, Hanna C. Ilia, M.D., violated the standards of acceptable

professional practice for Lafayette, Tennessee or a similar community in providing and/or failing

to provide reasonable medical care and treatment to decedent, Pamela Cherry. The wrongful

death of plaintiff was a direct and proximate result of the Defendants’ negligence. Without

limiting the specific allegations of negligence, Dr. Hanna Ilia, was specifically negligent:

             a. failing to obtain an adequate history, including cardiac history;

             b. by failing to properly diagnosis and treat Pamela Cherry for signs of a heart

                attack;

             c. by prematurely dismissing Pamela Cherry from the emergency room;




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             d. by failing to provide Pamela Cherry with sufficient information regarding her

                symptoms and EKG test results;

             e. releasing Pamela Cherry in unstable medical condition.

                ALLEGATIONS OF NEGLIGENCE – MACON HOSPITAL, INC.
                     D/B/A MACON COUNTY GENERAL HOSPITAL

       19.      That through its agents and employees, Defendant, Macon Hospital, Inc. d/b/a

Macon County General Hospital, violated standards of acceptable care in their failure to obtain

an adequate history, perform a physical assessment, report complaints and observations to Dr.

Ilia and for releasing Pamela Cherry in an unstable condition. The wrongful death of Pamela

Cherry was a direct and proximate result of the Defendant’s negligence.

                ALLEGATIONS OF GROSS NEGLIGENCE – JAMES BARLOW

       20.      The Defendant, James Barlow, was negligent and grossly violated the standard of

acceptable care professional practice for Lafayette, Tennessee or a similar community in

providing and/or failing to provide reasonable medical care and treatment to decedent, Pamela

Cherry. The wrongful death of Pamela Cherry was a direct and proximate cause of James

Barlow’s gross negligence.       Without limiting the specific allegations, James Barlow was

negligent and/or grossly negligent:

             a. by failing to timely utilize a cardiac monitor when treating Pamela Cherry;

             b. by failing to timely begin CPR when treating Pamela Cherry;

             c. by failing to initiate treatment immediately after making contact with Pamela

                Cherry.

       21.      It was foreseeable that a person such as Pamela Cherry would sustain serious

personal injuries and/or death as a result of the above acts of negligence and/or gross negligence.




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               ALLEGATIONS OF GROSS NEGLIGENCE – JIMMY PHILPOTT

       22.      The Defendant, Jimmy Philpott, was negligent and grossly violated the standards

of acceptable care professional practice for Lafayette, Tennessee or a similar community in

providing and/or failing to provide reasonable medical care and treatment to decedent, Pamela

Cherry. The wrongful death of Pamela Cherry was a direct and proximate cause of Jimmy

Philpott’s gross negligence.     Without limiting the specific allegations, Jimmy Philpott was

negligent and/or grossly negligent:

             a. by failing to timely utilize a cardiac monitor when treating Pamela Cherry;

             b. by failing to timely begin CPR when treating Pamela Cherry;

             c. by failing to initiate treatment immediately after making contact with Pamela

                Cherry.

       23.      It was foreseeable that a person such as Pamela Cherry would sustain serious

personal injuries and/or death as a result of the above acts of negligence and/or gross negligence.

     ALLEGATIONS OF GROSS NEGLIGENCE – CELINA FIRE DEPARTMENT EMS

       24.      At all times pertinent to this Complaint, Defendants, James Barlow and Jimmy

Philpott, were employees of the City of Celina and the Celina Fire Department EMS.

       25.      At all times pertinent to this Complaint, Defendants, James Barlow and Jimmy

Philpott, were acting in course and scope of their employment with the City of Celina and the

Celina Fire Department EMS.

       26.      Pursuant to the GTLA, Tenn. Code. Ann. §29-20-101, Defendant, the Celina Fire

Department EMS, is liable for the negligent and/or grossly negligent acts and omissions of its

employees through the doctrine of respondeat superior and other agency relationships.




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       27.      It was foreseeable that a person such as Pamela Cherry would sustain serious

personal injuries and/or death as a result of the above acts of negligence and/or gross negligence.

       ALLEGATIONS OF GROSS NEGLIGENCE – CLAY COUNTY E911 BOARD

       28.      The dispatcher, referred to in rhetorical Paragraph 16 of this Complaint, was an

employee of the Clay County E911 Board and Clay County, Tennessee.

       29.      At all times pertinent to this Complaint, said dispatcher was acting in the course

and scope of his employment with the Clay County E911 Board and Clay County Tennessee.

       30.      Said dispatcher was negligent and grossly violated standards of acceptable care

in:

             a. Failing to obtain an appropriate assessment of Pamela Cherry’s condition upon

                receiving the 911 call from Georgia Cherry;

             b. Failing to give the Cherry family pre-arrival instructions;

             c. Failing to assign an ambulance unit to treat Pamela Cherry within two minutes of

                receipt of the emergency call.

       31.      Pursuant to the GTLA, Tenn. Code. Ann. §29-20-101, Defendant, the Clay

County E911 Board is liable for the negligent and/or grossly negligent acts and omissions of its

employees through the doctrine of respondeat superior and other agency relationships.

       32.      It was foreseeable that a person such as Pamela Cherry would sustain serious

personal injuries and/or death as a result of the above acts of negligence and/or gross negligence.

                                            DAMAGES

       33.      Pamela Cherry’s death on June 1, 2011 was the direct and proximate result of

Defendants’ failure to comply with the applicable standard of care. Pamela Cherry left surviving

as next of kin her widower, David Cherry, and her minor daughter, Stevie Nikole Cherry. As a



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result of Pamela Cherry sustaining injuries and her eventual death, there were incurred medical,

funeral, and burial expenses, and Pamela Cherry suffered mental and physical suffering between

the time of her injury and her death. As a further result of the wrongful death of Pamela Cherry,

David Cherry and Stevie Nikole Cherry have lost her services and support, her companionship

and acts of love and affection, parental guidance and training, and David’s loss of marital

relationship, all of which they would have otherwise received.

                                           AD DAMNUM

        WHEREFORE, David Cherry, Personal Representative of the Estate of Pamela Cherry,

deceased, seeks judgment against the Defendants, Hanna C. Ilia, M.D., Macon Hospital, Inc.

d/b/a Macon County General Hospital, James Barlow, Jimmy Philpott, Celina Fire Department

EMS, and Clay County E911 Board for an amount of four million five hundred thousand dollars

($4,500,000.00), which will reasonably compensate them for the damages incurred in this loss,

for costs of this action, and for all other just and proper relief in the premises.




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                                         Respectfully submitted,

                                         WILSON KEHOE WININGHAM LLC

                                         s/D. Bruce Kehoe__________
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 28th day of October, 2013, I electronically filed the foregoing

with the Clerk of the Court using the EM/ECF system which sent notification of such filing to

the following:

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